









Dismissed and Opinion filed November 14, 2002









Dismissed and Opinion filed November 14, 2002.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-02-00804-CV

____________

&nbsp;

ROBENIA BROOKS, QUEENY MAE MCFARLAND, JAMES L. BROOKS,
DEBORAH BROOKS, AND JAMES W. BROOKS, Appellants

&nbsp;

V.

&nbsp;

CHARLES JOHNSON D/B/A JOHNSON FUNERAL HOME AND TENET
HEALTHCARE, LTD. D/B/A PLAZA SPECIALTY HOSPITAL, Appellees

&nbsp;



&nbsp;

On
Appeal from the 280th District Court

Harris
County, Texas

Trial
Court Cause No. 01-38085

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O
P I N I O N

This is an appeal from a judgment signed July 2, 2002.&nbsp; The notice of appeal was filed August 1,
2002.&nbsp; To date, the filing fee of $125.00
has not been paid.&nbsp; No proper affidavit
of indigence was filed with or before the notice of appeal.&nbsp; See Tex.
R. App. P. 20.1.&nbsp; Therefore, on
October 10, 2002, the Court issued an order stating that unless appellants paid
the appellate filing fee of $125.00 within fifteen days of the date of the
order, the appeal would be dismissed.&nbsp; 








The filing fee has not been paid, and appellants have not
responded to the Court=s order of October 10, 2002.

Accordingly, the appeal is ordered dismissed.&nbsp; See Tex.
R. App. P. 42.3(c).&nbsp; 

&nbsp;

PER CURIAM

&nbsp;

&nbsp;

Judgment rendered and Opinion
filed November 14, 2002.

Panel consists of Justices Yates,
Anderson, and Frost. 

Do Not Publish C Tex. R. App. P. 47.3(b).





